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                                  UNITED STATES DISTRICT
                                 COURT FOR THE DISTRICT OF
                                        COLUMBIA

            UNITED STATES OF AMERICA,

                                    v.

            CHRISTOPHER ALBERTS,                              Case No. 21-cr-26 (CRC)

                                    Defendant.



           DEFENDANT ALBERT’S REPLY TO GOVERNMENT’S OPPOSITION



COMES NOW, Defendant, CHRISTOPHER MICHAEL ALBERTS, (hereinafter, “Defendant”

or “Alberts”), by and through undersigned counsel, with this Reply to the Government’s

Opposition (CMF 76) to Alberts’ motion to suppress (CMF 74).

        The government states that the original grand jury transcript—indicating Officer Haynes

testified he saw “bullets” on Alberts’ hip—was a mistake. The government contends that the

Officer actually said “bulge,” which is consistent with Haynes’ original statement made shortly

after Alberts’ arrest. The government attaches a statement from a transcriptionist saying, “Upon

listening to the tapes, I have determined that the Transcriber inadvertently mis-transcribed the

portion of testimony set forth in paragraph 2 . . . .”

        In any event, cases where officers justify searches of persons based on seeing “bulges” in

clothing mostly invalidate such searches unless there are articulable facts in addition to such

bulges which give rise to reasonable suspicions of criminal activity. Such additional grounds

might be nervous behavior, sweating or avoiding eye contact, or awkward or evasive
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movements. See, e.g., United States v. Eustaquio, 198 F.3d 1068, 1069-70 (8th Cir. 1999)

(involving suspect who made furtive movements to conceal bulge from officer).

         In this case, the mere presence of a bulge on Alberts’ hip area—without more—is alleged

by the government to justify the search.

         The United State raises an additional, new-fangled argument in its opposition: a claim

that, “alternatively, probable cause to arrest [Alberts] [existed] for violating a curfew order (and

conduct a pat-down search incident to arrest).” CMF 76, p. 1.

         First, according to body camera video of the arrest, Haynes’ supervising officer himself

said that the curfew-arrest announcement had not yet been made at the time of Alberts’ arrest.

The United States points to various broadcasts by Twitter, text messages, or other social media

that the mayor of D.C. had claimed there was a 6 p.m. curfew. But Alberts was not on Twitter

and did not receive any such text message. 1 The United States is in possession of Alberts’ cell

phone data from Jan. 6 and does not try to claim that Alberts’ phone received such a message. 2

         Secondly Carr v. District of Columbia, 561 F. Supp. 2d 7 (D.D.C. 2008) and many other

cases, hold that police do not have probable cause to make arrests for curfew violations unless

there is strict compliance with warning notices and adequate opportunities to disperse. Even if

there were publicized announcements of the mayor’s curfew commands, officers must provide

reasonable time and opportunity for subjects to disperse and comply with such announcements.




1
  Note that there are wide-spread claims among Jan. 6 protestors that their cell service failed near the Capitol on
Jan. 6, prompting many to publicly suspect the government was interfering with their cellular communications.
2
  Alberts is prepared to testify at the forthcoming hearing that he discontinued ‘Amber alert’ capabilities on his
cellular device around the time he purchased his phone.
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          In this case, Alberts was in crowds of dozens or hundreds of others similarly situated, who had

          not been given adequate time and opportunity to safely disperse.

                 None of the Jan. 6 protestors around Alberts were arrested for curfew violations. Nor

          could they have been; at least constitutionally.

                                                  CONCLUSION

                 For all the reasons given in Defendants’ motion, the semi-automatic pistol and associated

          accessories and ammunition should be excluded from trial in this case.



           Dated: December 2nd , 2022                        Respectfully submitted,
                                                             /s/ John M. Pierce
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CERTIFICATE OF SERVICE
I hereby certify that, on December 2nd, 2022, this motion and the accompany declaration was
filed via the Court’s electronic filing system, which constitutes service upon all counsel of
record.


/s/ John M. Pierce
John M. Pierce
